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F|LED IN CHAMBERS

U.S.D.C. At|anta
IN THE UNITED sTATEs DISTRICT coURT 0
FoR THE NoRTHERN DISTRIC'T oF GEORGIA cl 1 6 2013

GAINESVILLE DIVISION JQMES .N HATT N,Qierk
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UNITED STATES OF AMERICA
Criminal lndictment

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No. 2:13€£€0037
_MATTHEW I<LEINsMITH

THE GRAND ]URY CHARGES THAT:

Count One

1. Beginning on or before August 1, 2008 and continuing until on or after
September 7, 2010, in the Northern District of Georgia and elsewhere, the
defendant, MATTHEW KLEINSMITH, did devise and intend to devise a scheme
and artifice to defraud Ron Onorato, doing business as The Northpoint Group,
Inc. and Point Satellite and Point Berl<eley, and did obtain approximately $3.1
million from Ron Onorato, doing business as The Northpoint Group, Inc. and
Point Satel]ite and Poin_t Berkeley, by means of false and fraudulent pretenses,
representations, and promises, and by the omission of material facts,' knowing
and having reason to know that said pretenses, representations, and promises
Were and Would be false and fraudulent When made and that said omissions
Were of material facts, and the defendant did execute said scheme and artifice to
defraud and to obtain money by fraud by means of Wire, radio, and television

communications of certain signs, signals, and sounds in interstate commerce

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2. lt is pertinent to the scheme and artifice to defraud that Ron Onorato
(Onorato) was a real estate developer, doing business as Northpoint Group lnc.,
and that two of his projects were Point Satellite and Point Berkeley located in the
Northern District of Georgia.

3. lt is further pertinent to the scheme and artifice to defraud that Onorato
obtained construction loans from lending institutions to fund construction of the
Point Satellite and Point Berkeley projects.

4. lt is further pertinent to the scheme and artifice to defraud that by late
summer 2008, Onorato had completed construction of Point Satellite and Phases
One and Two of Point Berkeley and was engaged in the construction of Phase lll
of Point Berkeley.

5. lt is further pertinent to the scheme and artifice to defraud that in the fall
2008, Onorato sought permanent financing that would be used to pay off the
construction loans he had obtained to build Point Satellite and Point Berkeley.
However, because of the financial circumstances of the economy at the time,
Onorato was not able to obtain permanent financing from traditional banking
institutions because those institutions were not making new loans. Therefore,
Onorato was forced to seek permanent financing from non-conventional sources.

6. lt was part of the scheme and artifice to defraud that in the fall 2008,
defendant operated a business called Parl< Capital Group, LLC, purportedly l

located in l\/liami, Florida.

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7. lt was further a part of the scheme and artifice to defraud that a third party
introduced Onorato to defendant Defendant portrayed himself to Onorato as a
loan broker who could obtain non-conventional financing for Onorato.

8. lt was further a part of the scheme and artifice to defraud that on or about
November 3, 2008, defendant told Onorato that he Was involved with a program
that would yield ten to one leverage, meaning that Onora to would pay in
advance 10% of the requested loan amount Defendant further told Onorato that
he had closed multiple loans ranging from $2 million to $70 million of this type
with Ciaxa Bank in Madrid, Spai_n. However, in truth and in fact, defendant had
not closed multiple multi-million dollar loans with Ciaxa Bank in Spain in which
a 10% advance fee was required.

9. lt was further a part of the scheme and artifice to defraud that defendant
advised Onorato that he would be traveling to Spain the last week of November,
and that if Onorato wanted to obtain the 10 to 1 leveraged financing, he would
need to make a commitment before defendant left on his trip.

10. lt was further a part of the scheme and artifice to defraud that Onorato
asked defendant to provide him with a reference for a similar transaction
defendant had closed in the past. Defendant stated that it would not be a
problem and that he would arrange for Onorato to talk to Robert Lopez, a real
estate developer in Florida for whom defendant had just closed a $40 million
loan. Onorato and defendant, along with third parties, talked on the telephone
With a person Who claimed to be Robert Lopez, a real estate developer in Miami,

Florida. Robert Lopez told Onorato, defendant, and the other persons on the call

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that he had recently closed a $40 million loan obtained for him by defendant and
that everything had gone smoothly just as defendant had advised him in
advance that it Would. HoWever, in truth and in fact, the person Who purported
to be Robert l_.opez, the real estate developer on the phone call, was a shill
employed by defendant to portray himself as a real estate developer, that the
person Was not a real estate developer, and that the person had not closed a
multi-million dollar loan through defendant

11. lt Was further a part of the scheme and artifice to defraud that on or about
November 24, 2008, defendant caused Onorato to Wire transfer $1.36 million to
defendant, doing business as Park Capital Group, LLC. Onorato sent the $1.36
million to defendant based on defendant' s false and fraudulent representations
that he Would leverage the $1.36 million times 10 and obtain a loan from Ciaxa
Bank for Onorato in the amount of $13,600,000 Which Onorato intended to use as
permanent financing for his Point Satellite project However, in truth and in fact,
on November 25, 2008, defendant wired transferred $1 million of the funds sent
to him by Onorato to Realistic Enterprises in partial settlement of a lawsuit filed
by Realistic Enterprises against defendant for recovery of a similar advance fee
paid to defendant by Realistic Enterprises to obtain a loan for Realistic
Enterprises. Defendant failed to advise Onorato that he intended to send most of
Onorato’s money to Realistic Enterprises as repayment for defendants failure to
obtain a loan on behalf of Realistic Enterprises. Defendant’s failure to advise

Onorato that defendant Was using Onorato’s money in this Way Was a material

omission.

 

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12. lt was further a part of the scheme and artifice to defraud that in late
November 2008, defendant reported to Onorato that he had just returned from
his trip to Spain, that his trip was successful, and he had been promised funding
for Onorato’s loan in Inid-]anuary. However, in truth and in fact defendant did
not travel to Spain in late November 2008, and defendant did not obtain a
commitment from Ciaxa Bank to lend Onorato $13,600,000.

13. lt was further a part of the scheme and artifice to defraud that defendant
also told Onorato that he had obtained a commitment from Ciaxa Bank to
provide funding for permanent financing for Onorato’s Point Berkeley project
and that in order for Onorato to obtain the financing he would have to pay
another advance fee of 10% of the loan amount However, in truth and in fact
defendant had not obtained a commitment from Ciaxa Bank to provide funding
for Onorato’s Point Berkeley project

14. lt was further a part of the scheme and artifice to defraud that defendant
invited Onorato to visit him at his new house in Cincinnati, Ohio over the
Thanksgiving weekend Onorato traveled to Cincinnati to the address provided
by defendant and met defendant at a multi-million residence with a Ferrari
automobile parked in the driveway. Defendant claimed that he had just
purchased the residence and that he had bought the Ferrari as a retirement gift
for his father. Defendant also stated that he was planning to open a Park Capital
Gro’up office in Cincirmati. Defendant took Onorato to an office building in
Cincinnati which defendant claimed he had just purchased Defendant told

Onorato that he intended to build out the third floor which would serve as the

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Cincinnati office for Parl< Capital Group. l-lowever, in truth and in fact, the
residence did not belong to defendant, defendant had not purchased the office
building, and defendant did not have an agreement to build out space for a Park
Capital Group office in Cincinnati. Defendant also failed to advise Onorato that
he had purchased the Ferrari with funds he had obtained from the advance fee
Realistic Enterprises had paid to defendant to obtain funding for Realistic
Enterprises. Defendant’s failure to do so was a material omission

15. lt was further a part of the scheme and-artifice to defraud that on or about
December 12, 2008, defendant and Onorato entered into an agreement wherein
defendant would obtain a loan in the amount of $34,400,000 on behalf of
Onorato. Pursuant to the agreement Onorato was to pay an advance fee of 5.1%
or $1.75 million and defendant, doing business as Park Capital Group, was to
pay an advance fee of 4.9%.

16. lt w_as further a part of the scheme and artifice to defraud that on or about
December 12, 2008, defendant caused Onorato to wire transfer $1.25 million to
defendant, doing business as Park Capital Group, LLC. The $1.25 million was
intended to be an advance fee which would be used by defendant to obtain a
loan from Cia)<a Bank. Onorato sent the $1.25 million to defendant based upon
defendant’s false and fraudulent representations that defendant would use the
funds to obtain a loan from Ciaxa Bank for Onorato in the amount of $34,400,000
which Onorato intended to use as permanent financing for his Point Berkeley
project However, in truth and in fact on December 12, 2008, defendant wired

transferred $1 million of Onorato's money to a third party who was not involved

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in loan financing with Ciaxa Bank. Defendant’s intention to wire transfer $1
million to a third party who was not connected to Ciaxa Bank was an omission of
a material fact by defendant

17. lt was further a part of the scheme and artifice to defraud that on or about
December 16, 2008, defendant caused Onorato to wire transfer $500,000 to
defendant, doing business as Parl< Capital Group, LLC. Onorato sent the
$500,000 to defendant to complete the payment of the $1.75 million advance fee
payment that defendant represented he would use to obtain a loan from Ciaxa
Bank for Onorato in the amount of $34,400,000 which Onorato intended to use as
permanent financing for his Point Berkeley project l-lowever, in truth and in fact
on December 16, 2008, defendant wired transferred Onorato’s $500,000 to
Realistic Enterprises in further settlement of defendant' s debt to Realistic.
- Defendant’s intention to wire transfer $500,000 to a Realistic Enterprises rather
than use the funds as an advance fee to obtain a loan for Onorato with Ciaxa
Bank was an omission of a material fact by defendant

18. lt was further a part of the scheme and artifice to defraud that thereafter
defendant advised Onorato that he had again traveled to Spain to meet with
officials at Ciaxa Bank and that he had successfully obtained the promised
$34,400,000 in financing for Onorato’s Point Berkeley project However, in truth
and in fact defendant did not travel to Spain, defendant did not contribute 4.9%
toward the advance fee, and defendant did not obtain a commitment from Ciaxa

Bank to lend Onorato $34,400,000.

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19. On or about November 15, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATl`l-IEW KLEINSMITH, for the purpose of
executing the aforesaid scheme and artifice to defraud and attempting to do so,
and to obtain and attempt to obtain money from Onorato by means of false and
fraudulent pretenses, representations, and promises and by the omission of
material facts, did cause to be transmitted in interstate commerce by means of
interstate wire, radio, and television communications certain signs, signals, and
sounds, that is, a telephone call between Ron Onorato in the Northern District of
Georgia and defendant in Miarni, Florida, in violation of Title 18, United States

Code, Section 1343.

Count Two

20. The grand jury alleges each and every allegation set forth in paragraphs 1
through 18 of Count One above, as if each and every allegation was fully set
forth herein.

21. On or about November 20, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATTHEW KLElNSMlTH, for the purpose of
executing the aforesaid scheme and artifice to defraud and attempting to do so,
and to obtain and attempt to obtain money from Onorato by means of false and
fraudulent pretenses, representations, and promises and by the omission of
material facts, did cause to be transmitted in interstate commerce by means of
interstate Wire, radio, and television communications certain signs, signals, and
sounds, that is, a telephone call between Ron Cnorato and others in the Northern

District of Georgia and defendant and a person purporting to be Robert Lopez, a
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real estate developer who had recently obtained a loan of approximately $40

million with defendant’s assistance, in Miami, Florida, in violation of Title 18,

United States Code, Section 1343.

Count Three

22. The grand jury alleges each and every-allegation set forth in paragraphs 1
through 18 of Count One above, as if each and every allegation was fully set
forth herein.

23. On or about November 24, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATTHEW KLElNSl\/IITH, for the purpose of
executing the aforesaid scheme and artifice to defraud and attempting to do so,
and to obtain and attempt to obtain money from Onorato by means of false and
fraudulent pretenses, representations, and promises and by the omission of
material facts, did cause to be transmitted in interstate commerce by means of
interstate wire, radio, and television communications certain signs, signals, and
sounds, that is, the wire transfer of $1.36 million from Onorato’s banking
institution in the Northern District of Georgia to Park Capital Group’s banking
institution in Miami, Florida, in violation of Title 18, United States Code, Section

1343.

Count Four
24. The grand jury alleges each and every allegation set forth in paragraphs 1
through 18 of Count One above, as if each and every allegation was fully set

forth herein

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25. On or about November 30, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MA'lTl-IEW KLEINSMITH, for the purpose of
executing the aforesaid scheme and artifice to defraud and attempting to do so,
and to obtain and attempt to obtain money from Onorato by means of false and
fraudulent pretenses, representations, and promises and by the omission of
material facts, did cause to be transmitted in interstate commerce by means of
interstate wire, radio, and television communications certain signs, signals, and
sounds, that is, a telephone call between Ron Onorato in the Northern District of
Georgia and defendant in Miami, Florida, in violation of Title 18, United States

Code, Section 1343.

Count Five

26. The grand jury alleges each and every allegation set forth in paragraphs 1`
through 18 of Count One above, as if each and every allegation was fully set
forth herein. l

27. On or about December 12, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATl`l-IEW KLEINSMl"l`l-l, for the purpose of
executing the aforesaid scheme and artifice to defraud and attempting to do so,
and to obtain and attempt to obtain money from Onorato by means of false and
fraudulent pretenses, representations, and promises and by the omission of
material facts, did cause to be transmitted in interstate commerce by means of
interstate wire, radio, and television communications certain signs, signals, and
sounds, that is, the wire transfer of $1.25 million from Onorato’s banking

institution in the Northern District of Georgia to Park Capital Group's banking
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institution in Miami, Florida, in violation of Title 18, United States Code, Section

1343.

Count Six

28. The grand jury alleges each and every allegation set forth in paragraphs 1
through 18 of Count One above, as if each and every allegation was fully set
forth here`m.

29. On or about December 16, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATTHEW KLElNSl\/llTH, for the purpose of
executing the aforesaid scheme and artifice to defraud and attempting to do so,
and to obtain and attempt to obtain money from Onorato by means of false and
fraudulent pretenses, representations, and promises and by the omission of
material facts, did cause to be transmitted in interstate commerce by means of
interstate wire, radio, and television communications certain signs, signals, and
sounds, that is, the wire transfer of $500,000 from Onorato's banking institution
in the Northern District of Georgia to Park Capital Group’s banking institution in

Miami, Florida, in violation of Title 18, United States Code, Section 1343.

Count Seven
30. On or about November 25, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATTHEW KLElNSl\/IITH, did knowingly engage in,
attempt to engage in, and cause others to engage in a monetary transaction by
and through a financial institution affecting interstate and foreign commerce, in

criminally derived property of an amount greater than $10,000, to wit: the

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transfer of $1 million from a bank account held by defendant, doing business as
Park Capital Group, LLC, in Miami, Florida, to a bank account held by Realistic
Enterprises, in Cincinnati, Ohio, said $1 million having been derived from
specified unlawful activity, that is, the scheme and artifice to defraud and to
obtain money by means of false and fraudulent pretenses, representations, and
promises described in paragraphs 1-19 of Count One of this indictment in

violation of Title 18, United States Code, Section 1957.

Count Eight

31. On or about December 12, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATTl-IEW KLEINSMITH, did knowingly engage in,
attempt to engage in, and cause others to engage in a monetary transaction by
and through a financial institution affecting interstate and foreign commerce, in
criminally derived property of an amount greater than $10,000, to wit: the
transfer of $1 million from a bank account held by defendant, doing business as »
Park Capital Group, LLC, in Miami, Florida, to a bank account held by P.E., in
the District of Maryland, said $1 million having been derived from specified
unlawful activity, that is, the scheme and artifice to defraud and to obtain money
by means of false and fraudulent pretenses, representations, and promises
described in paragraphs 1-19 of Count One of this indictment inviolation of

Title 18, United States Code, Section 1957.

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Count Nine

32. On or about December 16, 2008, in the Northern District of Georgia and
elsewhere, the defendant, MATTHEW KLEINSMITH, did knowingly engage in,
attempt to engage in, and cause others to engage in a monetary transaction by
and through a financial institution affecting interstate and foreign commerce, in
criminally derived property of an amount greater than $10,000, to wit: the
transfer of $550,000 from a bank account held by defendant, doing business as
Park Capital Group, LLC, in Miami, Florida, to a bank account held by Realistic
Enterprises, in Cincinnati, Ohio, at least $500,000 of said $550,000 having been
derived from specified unlawful activity, that is, the scheme and artifice to
defraud and to obtain money by means of false and fraudulent pretenses,
representations, and promises described in paragraphs 1-19 of Count One of this

indictment in violation of Title 18, United States Code, Section 1957.

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